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                                                            DOC #:
                         UNITED STATES DISTRICT COURT       DATE FILED: 9/25/2019
                             SOUTHERN DISTRICT OF NEW YORK


 TYLER SELL, Individually and On                       CASE No.: 1:19-cv-06137-GHW
 Behalf of All Others Similarly Situated,
                                                       ORDER APPOINTING LEAD
               Plaintiff,                              PLAINTIFF AND APPROVING
                                                       LEAD PLAINTIFF’S
               v.                                      SELECTION OF COUNSEL

ACER THERAPEUTICS INC., CHRIS                          CLASS ACTION
SCHELLING, and HARRY PALMIN,

               Defendants.


       WHEREAS, the above-captioned securities class action has been filed against defendants

Acer Therapeutics Inc. (“Acer” or the “Company”) and certain of its officers and directors,

alleging violations of the federal securities laws;

       WHEREAS, pursuant to the Private Securities Litigation Reform Act of 1995

(“PSLRA”), 15 U.S.C. § 78u-4(a)(3)(A)(i), on July 1, 2019, a notice was issued to potential class

members of the action informing them of their right to move to serve as lead plaintiff within 60

days of the date of the issuance of said notice;

       WHEREAS, on August 30, 2019, Plaintiff Nicholas Skiadas (“Movant”) moved the Court

to appoint Movant as Lead Plaintiff and approve Movant’s selection of The Rosen Law Firm,

P.A. as Lead Counsel;

       WHEREAS, the PSLRA provides, inter alia, that the most-adequate plaintiff to serve as

lead plaintiff is the person or group of persons that has either filed a complaint or has made a

motion in response to a notice and has the largest financial interest in the relief sought by the

Class and satisfies the requirements of Fed. R. Civ. P. 23; and




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        WHEREAS, the Court finding that Movant has the largest financial interest in this action

and prima facie satisfies the typicality and adequacy requirements of Fed. R. Civ. P. 23. See 15

U.S.C. § 78u-4(a)(3)(B)(iii)(I);




        IT IS HEREBY ORDERED THAT:

              APPOINTMENT OF LEAD PLAINTIFF AND LEAD COUNSEL

        1.       Pursuant to Section 21D(a)(3)(B) of the Exchange Act, 15 U.S.C. §78u-(a)(3)(B),

Movant is appointed as Lead Plaintiff for the class as he has the largest financial interest in this

litigation and otherwise satisfies the requirements of Fed. R. Civ. P. 23.

        2.       Movant’s choice of counsel is approved and accordingly, The Rosen Law Firm,

P.A. is appointed as Lead Counsel.

        3.       Lead Counsel, after being appointed by the Court, shall manage the prosecution of

this litigation. Lead Counsel is to avoid duplicative or unproductive activities and is hereby vested

by the Court with the responsibilities that include, without limitation, the following: (1) to prepare

all pleadings; (2) to direct and coordinate the briefing and arguing of motions in accordance with

the schedules set by the orders and rules of this Court; (3) to initiate and direct discovery; (4) to

prepare the case for trial; and (5) to engage in settlement negotiations on behalf of Lead Plaintiff

and the Class.
The Clerk of Court is directed to terminate the motions pending at Dkt Nos. 12 and 15.
                                              SO ORDERED:

       September 25
Dated _____________, 2019
                                              HONORABLE GREGORY H. WOODS
                                              UNITED STATES DISTRICT JUDGE




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